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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                             Docket No.                   2:23-cr-00596-RGK-1                      JS3

 Defendant           Lu Zhang                                             Social Security No.          9     2    5     9
 akas:    Nikki                                                         (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                      MONTH      DAY     YEAR

         In the presence of the attorney for the government, the defendant appeared in person 05                                  19     2025

  COUNSEL                                                                 Shaun Khojayan, Ret.
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.            NOLO                  NOT
                                                                                                                 CONTENDERE              GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     Conspiracy to Commit Money Laundering, in violation of 18 U.S.C. § 1956(h) as charged in Count 1 of the
                     Indictment.

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that: The defendant, Lu Zhang is hereby
  ORDER              committed on Count One of the Indictment to the custody of the Bureau of Prisons for a term of 24 months.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years under the following terms and
conditions:

          1.    The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services Office and Second
                Amended General Order 20-04.

          2.    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15
                days of release from custody and at least two periodic drug tests thereafter, not to exceed eight tests per month, as directed by the
                Probation Officer.

          3.    The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes urinalysis, breath or
                sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from using alcohol and illicit drugs, and from
                abusing prescription medications during the period of supervision.

          4.    During the course of supervision, the Probation Officer, with the agreement of the defendant and defense counsel, may place the
                defendant in a residential drug treatment program approved by the U.S. Probation and Pretrial Services Office for treatment of narcotic
                addiction or drug dependency, which may include counseling and testing, to determine if the defendant has reverted to the use of drugs.
                The defendant shall reside in the treatment program until discharged by the Program Director and Probation Officer.

          5.    As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered treatment to the aftercare
                contractors during the period of community supervision. The defendant shall provide payment and proof of payment as directed by
                the Probation Officer. If the defendant has no ability to pay, no payment shall be required.

          6.    During the period of community supervision, the defendant shall pay the special assessment and restitution in accordance with this
                judgment's orders pertaining to such payment.

          7.    The defendant shall cooperate in the collection of a DNA sample from the defendant.



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         8.    The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments and any other
               financial gains to the Court-ordered financial obligation.

         9.    The defendant shall comply with the immigration rules and regulations of the United States, and if deported from this country, either
               voluntarily or involuntarily, not reenter the United States illegally. The defendant is not required to report to the Probation & Pretrial
               Services Office while residing outside of the United States; however, within 72 hours of release from any custody or any reentry to
               the United States during the period of Court-ordered supervision, the defendant shall report for instructions to the United States
               Probation Office located at: the 300 N. Los Angeles Street, Suite 1300, Los Angeles, CA 90012-3323.

         10. The defendant shall not use Line, Telegram, WeChat, or any messaging application that provide for end-to-end encrypted
             communication.

         11. The defendant shall possess and use only those digital devices, screen usernames, email accounts, social media accounts, messaging
             applications, and cloud storage accounts, as well as any passwords or passcodes for all such digital devices and accounts, that have
             been disclosed to the Probation Officer upon commencement of supervision. Any new devices, accounts, applications, passwords,
             or passcodes are to be disclosed to the Probation Officer prior to the first use. A digital device is any electronic system or device that
             can access, view, obtain, store, or transmit digital data related to.

         12. All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be subject to search, seizure and
             computer monitoring. This shall not apply to items used at the employment site that are maintained and monitored by the employer.

         13. The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The defendant shall pay the cost of
             the Computer Monitoring Program.

         14. The defendant shall disclose to the Probation Officer all digital assets owned or controlled by defendant. Digital assets are defined
             as any type of value storage represented in digital form. Digital assets include, but are not limited to, all forms of virtual currencies,
             bitcoin (BTC), Ethereum (ETH), digital tokens of any kind (including non-fungible tokens), etc. Defendant shall report all digital
             assets whether such assets are stored through an account with a third-party custodian (e.g., Coinbase) or in a self-hosted wallet (e.g.,
             paper wallets, phone applications, decentralized applications, hardware devices). The defendant shall not obtain, open, or maintain
             any wallets or accounts without prior approval of the Probation Officer. All digital-asset transactions shall be disclosed to the Probation
             Officer upon request. The defendant is prohibited from using privacy-based blockchain protocols or techniques including, but not
             limited to, Zcash, Monero, mixing services, Tornado Cash, Wasabi Wallets, etc., unless prior approval is obtained from the Probation
             Officer.

         15. The defendant shall not obtain, open, or maintain any wallets or accounts without prior approval of the Probation Officer. All digital-
             asset transactions shall be disclosed to the Probation Officer upon request. The defendant is prohibited from using privacy-based
             blockchain protocols or techniques including, but not limited to, Zcash, Monero, mixing services, Tornado Cash, Wasabi Wallets, etc.,
             unless prior approval is obtained from the Probation Officer.

         16. The defendant shall comply with the Internal Revenue Services reporting requirements as they pertain to digital assets and shall
             provide proof of having done so to the Probation Officer.

         17. The defendant shall not use any software program or device designed to hide, alter, or delete records/logs of his computer use, Internet
             activities, or files stored on his assigned computer(s) and phone(s). This includes the use of encryption, use of private browsing modes
             (e.g., Incognito Mode, private windows, Tor, TAILS, etc.), steganography, file erasing, file shredding, secure file deletion, and
             cache/cookie removal software without prior written approval from the United States Probation Office.

         18. The defendant shall submit the defendants person, property, house, residence, vehicle, papers, computers, cell phones, other electronic
             communications or data storage devices or media, email accounts, social media accounts, cloud storage accounts, or other areas under
             the defendants control, to a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit to
             a search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be subject to searches
             pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable time and in a reasonable manner
             upon reasonable suspicion that the defendant has violated a condition of his supervision and that the areas to be searched contain
             evidence of this violation.

         19. The defendant shall not commit any violation of local, state, or federal law or ordinance.



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         20. The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate, passport or any other form of
             identification in any name, other than the defendant's true legal name, nor shall the defendant use, any name other than the defendant's
             true legal name without the prior written approval of the Probation Officer.

         The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance abuse treatment provider
         to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the Presentence Report by the
         treatment provider is prohibited without the consent of the sentencing judge.

         It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid balance
         shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate
         Financial Responsibility Program.

         It is ordered that the defendant shall pay restitution in the total amount of $7,560,014 pursuant to 18 U.S.C. §3663A.

         Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that she is unable to pay and
         is not likely to become able to pay any fine.

         The Court further recommends that defendant be designated to a facility in the Southern California area to be close to her family.

         Defendant advised of her right to appeal.

         On the governments motion, all remaining counts of the Indictment are ordered dismissed as to this defendant only.


           In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
           and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
           the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
           a warrant and revoke supervision for a violation occurring during the supervision period.




                     05/20/2025
                        Date                                                  U. S. District Judge

           It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
           officer.

                                                                              Clerk, U.S. District Court




                 05/20/2025                                   By             /s/ M. Lindaya
                     Filed Date                                               Deputy Clerk




           The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                  STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                   While the defendant is on probation or supervised release pursuant to this judgment:

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           1.     The defendant must not commit another federal, state, or              9.    The defendant must not knowingly associate with any persons
                  local crime;                                                                engaged in criminal activity and must not knowingly associate
           2.     The defendant must report to the probation office in the                    with any person convicted of a felony unless granted
                  federal judicial district of residence within 72 hours of                   permission to do so by the probation officer. This condition
                  imposition of a sentence of probation or release from                       will not apply to intimate family members, unless the court
                  imprisonment, unless otherwise directed by the probation                    has completed an individualized review and has determined
                  officer;                                                                    that the restriction is necessary for protection of the
           3.     The defendant must report to the probation office as                        community or rehabilitation;
                  instructed by the court or probation officer;                         10.   The defendant must refrain from excessive use of alcohol and
           4.     The defendant must not knowingly leave the judicial                         must not purchase, possess, use, distribute, or administer any
                  district without first receiving the permission of the court                narcotic or other controlled substance, or any paraphernalia
                  or probation officer;                                                       related to such substances, except as prescribed by a
           5.     The defendant must answer truthfully the inquiries of the                   physician;
                  probation officer, unless legitimately asserting his or her           11.   The defendant must notify the probation officer within 72
                  Fifth Amendment right against self-incrimination as to                      hours of being arrested or questioned by a law enforcement
                  new criminal conduct;                                                       officer;
           6.     The defendant must reside at a location approved by the               12.   For felony cases, the defendant must not possess a firearm,
                  probation officer and must notify the probation officer at                  ammunition, destructive device, or any other dangerous
                  least 10 days before any anticipated change or within 72                    weapon;
                  hours of an unanticipated change in residence or persons              13.   The defendant must not act or enter into any agreement with
                  living in defendants residence;                                            a law enforcement agency to act as an informant or source
           7.     The defendant must permit the probation officer to                          without the permission of the court;
                  contact him or her at any time at home or elsewhere and               14.   The defendant must follow the instructions of the probation
                  must permit confiscation of any contraband prohibited by                    officer to implement the orders of the court, afford adequate
                  law or the terms of supervision and observed in plain                       deterrence from criminal conduct, protect the public from
                  view by the probation officer;                                              further crimes of the defendant; and provide the defendant
           8.     The defendant must work at a lawful occupation unless                       with needed educational or vocational training, medical care,
                  excused by the probation officer for schooling, training,                   or other correctional treatment in the most effective manner.
                  or other acceptable reasons and must notify the probation
                  officer at least ten days before any change in
                  employment or within 72 hours of an unanticipated
                  change;




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             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

                     The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
           fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
           Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to
           restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and
           costs must be paid by certified check or money order made payable to Clerk, U.S. District Court. Each certified check or money
           order must include the case name and number. Payments must be delivered to:

                     United States District Court, Central District of California
                     Attn: Fiscal Department
                     255 East Temple Street, Room 1178
                     Los Angeles, CA 90012

           or such other address as the Court may in future direct.

                    If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must
           pay the balance as directed by the United States Attorneys Office. 18 U.S.C. § 3613.

                    The defendant must notify the United States Attorney within thirty (30) days of any change in the defendants mailing
           address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

                     The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
           in the defendants economic circumstances that might affect the defendants ability to pay a fine or restitution, as required by 18
           U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or
           that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. §
           3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

                     Payments will be applied in the following order:

                              1. Special assessments under 18 U.S.C. § 3013;
                              2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                                States is paid):
                                        Non-federal victims (individual and corporate),
                                        Providers of compensation to non-federal victims,
                                        The United States as victim;
                              3. Fine;
                              4. Community restitution, under 18 U.S.C. § 3663(c); and
                              5. Other penalties and costs.

                 CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

                     As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing
           credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
           financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
           defendant must not apply for any loan or open any line of credit without prior approval of the Probation Officer.

                     When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to
           the Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including
           any business or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the
           Probation Office in advance of opening a new account or modifying or closing an existing one, including adding or deleting
           signatories; changing the account number or name, address, or other identifying information affiliated with the account; or any
           other modification. If the Probation Office approves the new account, modification or closing, the defendant must give the
           Probation Officer all related account records within 10 days of opening, modifying or closing the account. The defendant must not
           direct or ask anyone else to open or maintain any account on the defendants behalf.

                    The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
           without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                     These conditions are in addition to any other conditions imposed by this judgment.




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                                                                             RETURN

            I have executed the within Judgment and Commitment as follows:
            Defendant delivered on                                                             to
            Defendant noted on appeal on
            Defendant released on
            Mandate issued on
            Defendants appeal
            determined on
            Defendant delivered on                                                             to
      at
                 the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                                United States Marshal


                                                                 By
                       Date                                                     Deputy Marshal



                                                                        CERTIFICATE

            I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
            and in my legal custody.

                                                                                Clerk, U.S. District Court


                                                                 By
                       Filed Date                                               Deputy Clerk




                                                       FOR U.S. PROBATION OFFICE USE ONLY


           Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
           term of supervision, and/or (3) modify the conditions of supervision.

                     These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


                     (Signed)
                                Defendant                                                      Date



                                U. S. Probation Officer/Designated Witness                     Date




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